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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 DILIP JANA,                                     §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §      Civil Action No. 4:24-cv-00698-SDJ-BD
                                                 §
 WALMART INC.,                                   §
                                                 §
         Defendant.                              §

                          DEFENDANT’S NOTICE REGARDING
                      PLAINTIFF’S DEMANDS FOR CLARIFICATION

       Defendant Walmart Inc. (“Walmart”) hereby files this Notice in response to Plaintiff’s

“Notice of Demand for Clarification Regarding Privilege Assertion” (Dkt. 68) and “Supplemental

Notice Regarding Demand for Clarification on Privilege Assertion” (Dkt. 74). To the extent the

Court construes Plaintiff’s “Notices” collectively as a motion to compel production of Walmart’s

privilege log and the unredacted email (with its attachments) attached to Plaintiff’s Complaint as

Exhibit 1 (redacted version of email submitted by Walmart’s prior counsel in administrative

proceedings) and Exhibit 2 (unredacted version of substantively identical email submitted by

Walmart’s prior counsel in administrative proceedings), Walmart respectfully submits that such a

motion is premature and procedurally improper at this stage.

       As noted in its most recent filing, Walmart is in the process of preparing a privilege log and

will serve it on Plaintiff as soon as it is complete (Dkt. 65, p. 5). Walmart has not yet withheld any

responsive documents on the basis of privilege, so Plaintiff’s demand that Walmart produce a

privilege log by his self-imposed July 7, 2025 deadline was unwarranted under the circumstances.

       On June 9, 2025, Walmart produced an initial set of non-confidential documents before the

Court entered the protective order (Dkt. 66) through a secure file sharing link (a standard method



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for producing documents in litigation). See Dkt. 65-3, p. 2–4. The next day, on June 10, 2025,

Plaintiff sent Walmart’s counsel a letter “objecting” to the production as “untimely and improper,”

asking eight clarifying questions related to the production (all of which Walmart’s counsel

answered via email), and declining to download the documents. Id., p. 5–6; see also Dkt. 70.

       Walmart is finalizing a second production of documents for service on Plaintiff, including

the unredacted email (with attachments included) attached as “EXHIBIT 2” to Plaintiff’s operative

Complaint (Dkt. 13-2) that Plaintiff has referenced repeatedly in this proceeding as “evidence” of

supposed “discovery fraud” by Walmart’s prior counsel. Walmart will provide Plaintiff with this

second set of documents as soon as possible — likely within the next week. And, as stated

previously, Walmart will provide Plaintiff with its privilege log as soon as it is complete.

Dated: July 10, 2025                                  Respectfully submitted,

                                                      /s/ Peter S. Wahby
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon all
parties of record via the Court’s e-filing system on July 10, 2025.

                                                      /s/ Peter S. Wahby
                                                          Peter S. Wahby



DEFENDANT’S NOTICE REGARDING PLAINTIFF’S DEMANDS FOR CLARIFICATION                               2
